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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

 IN THE MATTER OF:                          CASE NO. 16-09372-JMC-7A

                                            CHAPTER 7
 CHRISTOPHER ALLAN PENLEY,
                Debtor,
                                            ADVERSARY PROCEEDING
                                            NO._____________________


 STATE OF INDIANA,
                 Plaintiff,
 v.

 CHRISTOPHER ALLAN PENLEY,
                Defendant.


            COMPLAINT TO DETERMINE DISCHARGEABILITY OF DEBT

        Plaintiff State of Indiana (“Plaintiff”), by counsel, Melinda MacAnally, Deputy Attorney

General, for its cause of action alleges and states as follows:

   1. This is a complaint to determine the dischargeability of a debt pursuant to 11 U.S.C. §

523(a)(2)(A) and 11 U.S.C. § 523(a)(7).

   2. On December 13, 2016, Defendant Christopher Allan Penley (“Defendant”) filed a

bankruptcy petition for relief under Chapter 7 of the United States Bankruptcy Code.

   3. This Court has original jurisdiction of this cause pursuant to 28 U.S.C. §§ 157 and 1334.

   4. Venue of this Adversary Proceeding is proper in this court and Division pursuant to 28

U.S.C. § 1409(a). This Court has authority to hear and determine this Adversary Proceeding and

to grant the relief requested as a core proceeding pursuant to 28 U.S. C. § 157(b)(2)(I).

   5.   Plaintiff is the Consumer Protection Division of the Office of the Indiana Attorney General

(“CPD”) and is responsible for enforcing the provisions of the Deceptive Consumer Sales Act
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pursuant to Ind. Code §24-5-0.5-4(c).

     6. Defendant is a person who engaged in the sale of firearms and firearm-related parts and

accessories to consumers from Defendant’s principal place of business and/or residence located in

Hamilton County, Indiana, both individually and d/b/a D & B Guns.

     7. CPD filed an Amended Complaint for Injunction, Restitution, Costs, Civil Penalties, and

other Equitable Relief (the “Amended Complaint”) in the Hamilton Superior Court, Cause no.

29D-0911-MI-1371 on November 24, 2009.

     8. The Amended Complaint alleged violations by Defendant and a non-filing family member,

of the Indiana Deceptive Consumer Sales Act, Ind. Code Art. 24-5 et. seq., including knowing

misrepresentations to consumers concerning timing of delivery of items; of the characteristics,

uses, and benefits of the subjects of the consumer transactions; and that consumers would be able

to purchase the items as advertised on-line when Defendant(s) did not intend to sell the items as

represented.

     9. Defendant entered into a Consent Judgment with CPD on February 9, 2010. See Exhibit

A.

     10. Pursuant to this Consent Judgment, Defendant was ordered to pay consumer restitution

pursuant to Ind. Code §24-5-0.5-4(c)(2) in the amount of $26,470.52 for allocation and distribution

to affected consumers.

     11. Defendant was ordered to pay the Office of the Attorney General, pursuant to Ind. Code

§24-5-0.5-4(c)(3) the amount of $1,000.00 for investigation and prosecution costs.

     12. Defendant was also ordered to pay civil penalties in a like amount of $26,470.52 pursuant

to Ind. Code §24-5-0.5-4(g) and Ind. Code §24-5-0.5-8 for Defendant’s knowing and intentional

violations of the Deceptive Consumer Sales Act, payable to the State of Indiana.



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     13. Pursuant to the Consent Agreement, the Defendant specifically agreed that said penalty

would be a non-dischargeable debt in any subsequent bankruptcy proceeding initiated by the

Defendant.

     14. Plaintifff seeks to have this debt declared non-dischargeable as a debt for money to the

extent obtained by “false pretenses, false representation, or actual fraud”. 11 U.S.C. §523(a)(2)(A).

     15. Defendant’s Consent Judgment for knowing and intentional violations of the Deceptive

Consumer Sales Act in state court is res judicata to this Court’s de novo review of whether

Defendant acted with fraudulent intent under 11 U.S.C.§523(a)(2)(A).

     16.     With allowances for adjustments, set-offs, and repayment, the sum of $53,441.04 in

restitution, costs, and civil penalties is outstanding, overdue, and payable from Defendant to

Plaintiff.




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          WHEREFORE, the Plaintiff, the State of Indiana, prays that the Court (1) enter a judgment

against the Defendant Christopher Allan Penley in the amount of $53,441.04 plus adversarial filing

costs incurred in filing this action; (2) order that such indebtedness owed to Plaintiff, as described

in this Complaint, be declared non-dischargeable; and (3) grant Plaintiff all other just and proper

relief.

                                               Respectfully Submitted,

                                               CURTIS T. HILL, JR.
                                               Attorney General of Indiana
                                               Atty. No. 13999-20

                                               By: /s/ Melinda Hoover MacAnally
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